Case 1:20-cv-00977-PAB Document 52 Filed 04/30/20 USDC Colorado Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

Civil Action No.: 20-cv-00977-PAB                       Date: April 30, 2020
Courtroom Deputy: Sabrina Grimm                         Court Reporter: Janet Coppock

 Parties:                                               Counsel:

 THOMAS CARRANZA,                                       David Maxted
 JESUS MARTINEZ,                                        Daniel Williams
 RICHARD BARNUM,                                        Lauren Groth
 THOMAS LEWIS,
 MICHAEL WARD,
 COLBY PROPES, and
 CHAD HUNTER,

     Plaintiff, on their own and on behalf of a class
 of similarly situated persons,

 v.

 STEVEN REAMS, Sheriff of Weld County,                  Andrew Ringel
 Colorado, in his official capacity,                    Matthew Hegarty
                                                        Jack Peters

      Defendant.


                                 COURTROOM MINUTES


PRELIMINARY INJUNCTION HEARING VIA VIDEO TELECONFERENCE

8:02 a.m.     Court in session.

Appearances of counsel by VTC.

The matter is before the Court on Plaintiffs’ Motion for Temporary Restraining Order,
Preliminary Injunction, and Expediated Hearing [1].

Discussion regarding scheduling, stipulated exhibits, and other preliminary matters.

Exhibits 1-18, 28-35, and 38-54 are admitted.

Plaintiffs’ witness, Kevin Monteiro, sworn and appears by telephone.
Case 1:20-cv-00977-PAB Document 52 Filed 04/30/20 USDC Colorado Page 2 of 3




8:14 a.m.    Direct examination of Mr. Monteiro by Mr. Maxted.

8:38 a.m.    Cross examination of Mr. Monteiro by Mr. Peters.

9:02 a.m.    Redirect examination of Mr. Monteiro by Mr. Maxted.

Exhibits 19-27 are admitted.

Plaintiffs’ witness, Richard Barnum, sworn and appears by telephone.

9:12 a.m.    Direct examination of Mr. Barnum by Ms. Groth.

9:23 a.m.    Cross examination of Mr. Barnum by Mr. Peters.

9:30 a.m.    Redirect examination of Mr. Barnum by Ms. Groth.

Plaintiffs’ witness, Dr. Carlos Franco-Parades, sworn and appears by VTC.

9:33 a.m.    Direct examination of Dr. Franco-Parades by Mr. Williams.

10:01 a.m.   Court in recess.
10:17 a.m.   Court in session.

Continued direct examination of Dr. Franco-Parades by Mr. Williams.

10:58 a.m.   Cross examination of Dr. Franco-Parades by Mr. Ringel.

Comments by Dr. Franco-Parades in response to the Court’s questions.
Further questions by counsel.

Defendant, Sheriff Steven Reams, sworn and appears by VTC.

11:53 a.m.   Direct examination of Sheriff Reams by Mr. Maxted.

12:01 p.m.   Court in recess.
1:01 p.m.    Court in session.

Continued direct examination of Sheriff Reams by Mr. Maxted.

1:34 p.m.    Cross examination of Sheriff Reams by Mr. Hegarty.

Exhibits A-1 to A-39, A-47 to A-49, A-52, A-57 to A-99, B-1, and B-2 are admitted.

3:00 p.m.    Court in recess.
3:17 p.m.    Court in session.
Case 1:20-cv-00977-PAB Document 52 Filed 04/30/20 USDC Colorado Page 3 of 3




Continued cross examination of Sheriff Reams by Mr. Hegarty.

3:24 p.m.     Redirect examination of Sheriff Reams by Ms. Maxted.

Plaintiffs rest. Mr. Williams states Dr. Valerie Smith will not be called to testify. She is
released from her subpoena.

Defense rests.

3:35 p.m.     Court in recess.
3:45 p.m.     Court in session.

Argument by Mr. Williams and Mr. Ringel.

ORDERED: Plaintiffs’ Motion for Temporary Restraining Order, Preliminary
         Injunction, and Expediated Hearing [1] is TAKEN UNDER
         ADVISEMENT. The Court will issue a written order.

4:45 p.m.     Court in recess.

Hearing concluded.
Total in-court time: 7:00
